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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 17-24500-CIV-KING/SIMONTON

  JACOB ZOWIE THOMAS
  RENSEL,

          Plaintiff,

  v.

  CENTRA TECH, INC., ET AL

        Defendants.
  ________________________/

         REPORT AND RECOMMENDATION ON PLAINTIFF’S RENEWED MOTION FOR A
       TEMPORARY RESTRAINING ORDER, ASSET FREEZE, DOCUMENT PRESERVATION
        ORDER, AND ORDER TO MAKE ACCOUNTING AND OTHER ANCILLARY RELIEF

          This matter is before the Court on the Plaintiff’s Renewed Motion for Temporary

  Restraining Order, Asset Freeze, Document Preservation Order, and Order to Make

  Accounting and Other Ancillary Relief, ECF No. [54] (the “Renewed Motion”). The Motion

  has been fully briefed, ECF Nos. [63], [65], and oral argument was held on April 20, 2018.

  The Honorable James Lawrence King, United States District Judge, has referred the

  Renewed Motion to the undersigned for a hearing and to issue a Report and

  Recommendation, ECF No. [55]. For the reasons stated herein, it is RECOMMENDED

  that Plaintiff’s Renewed Motion be GRANTED to the limited extent consented to by the

  Defendants; and, otherwise, DENIED.

          I.      FACTUAL BACKGROUND

          Defendant Centra Tech is a start-up company that purported to develop and

  market technology the company claimed would allow individuals around the world to

  store and spend their cryptocurrency, such as current market leaders Bitcoin and Ether,

  with the ease of spending traditional fiat currency, such as U.S. dollars. Complaint
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  (“Compl.”) at ¶ 2. Defendants Sohrab Sharma, Raymond Trapani, Robert Farkas, and

  William Hagner are or were founders and/or officers in Centra Tech. 1 Compl. at ¶¶ 12-14.

         Centra Tech was incorporated in Delaware on July 27, 2017 and maintains its

  headquarters at 555 Washington Avenue, Miami Beach, Florida 33139. Compl. at ¶ 11.

  Centra Tech advertised itself to consumers as “the world’s first Debit Card that is

  designed for use with compatibility on 8+ major cryptocurrencies blockchain assets.”

  Compl. at ¶ 30. As such, Centra Tech proposed to be the first company to provide a

  bridge between the nascent cryptocurrency industry and the general retail world,

  transforming blockchain currencies, which are currently accepted only in limited

  settings, into widely usable currency by allowing individuals to pay for goods and

  services with cryptocurrency through a common debit card. Defendants conducted an

  “initial coin offering” or “ICO” from July 30, 2017 through October 5, 2017 in order to

  raise capital for further development of the Centra Debit Card and Centra Wallet. Compl.

  at ¶ 2. Centra also claimed to be planning development of an online marketplace referred

  to as cBay. Compl. at ¶ 2.

         During its ICO, Centra Tech offered what it referred to as a token, known as the

  Centra Token or CTR, for sale to the public. Compl. at ¶ 3. Centra Tech represented that

  a member of the public would need to own CTR to utilize the Centra Wallet or Centra

  Card, neither of which yet exist. Compl. at ¶¶ 2-3. The Plaintiffs allege that the Centra

  ICO and sale of tokens was an offer and sale of securities. Compl. at ¶ 3.

         Plaintiffs Jacob Zowie Thomas Rensel and Wang Yun He participated in the

  Centra Tech ICO and allege that they, and other member of the Class, sustained harm as




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   The Defendants filed a Suggestion of Death as to William Hagner on April 12, 2018,
  noting that Mr. Hagner died on March 22, 2018, during the pendency of this action, ECF
  No. [60].

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  a result of the Defendant’s conduct in violation of the Securities Act of 1933 (hereafter,

  “Securities Act”).

         II.    PROCEDURAL BACKGROUND

         The instant Complaint was filed on December 13, 2017, alleging violations of

  Section 12(a) of the Securities Act, 15 U.S.C. § 77l, against all Defendants and violation of

  Section 15(a) of the Securities Act, 15 U.S.C. § 77o, against the Individual Defendants,

  ECF No. [1]. The Defendants filed their Motion to Compel Arbitration and Stay and/or in

  the Alternative to Dismiss Under Rule 12(b)(1) and 12(b)(6) on February 2, 2018, ECF No.

  [26]. Therein, the Defendants argue that (1) the Plaintiff should be compelled to arbitrate

  his claims pursuant to a mandatory arbitration provision; (2) the Plaintiff lacks Article III

  standing to bring a claim; and (3) the Plaintiff has failed to plead facts sufficient to

  support control person allegations against the individual defendants, ECF No. [26] at 6-7.

  The Plaintiff filed his Response in Opposition on February 16, 2018, ECF No. [31], and the

  Defendants filed their Reply on February 23, 2018, ECF No. [34]. Because Defendants

  attached an affidavit to the Reply that attempted to submit new evidence, the Plaintiff

  was granted leave to file a sur-reply, and did so on April 17, 2018, ECF No. [66].

         On March 5, 2018, Wang Yun He filed a Motion for Appointment as Lead Plaintiff

  and Approval of Selection of Counsel, ECF No. [39]. Therein, Mr. He argued that he, and

  not Plaintiff Rensel, was the most adequate plaintiff as defined by the Private Securities

  Litigation Reform Act. Plaintiff Rensel filed a Motion for Appointment as Lead Counsel

  that same day, and subsequently moved the court for an order permitting limited

  discovery as to adequacy and typicality of Mr. He to serve as Lead Plaintiff, ECF No. [44].

  On March 16, 2018, Plaintiff Rensel and Mr. He filed a Joint Motion for Appointment as

  Co-Lead Plaintiffs and Approval of Selection of Counsel, arguing that both proposed

  plaintiffs met all requirements and that a co-lead structure would benefit the class. The

  court granted the Joint Motion on April 9, 2018, ECF No. [59].

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           Separately, the United States Securities and Exchange Commission (the “SEC”)

  filed suit in the Southern District of New York against Sohrab Sharma and Robert Farkas

  on April 2, 2018, alleging the defendants engaged in and are engaging in ongoing

  securities fraud in violation of Section 17(a)(1)-(3) of the Securities Act of 1933

  (“Securities Act”) [15 U.S.C. § 77q(a)(1)-(3)], Section 10(b) of the Securities Exchange Act

  of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)], and Rule 10b-5(a)-(c) thereunder [17

  C.F.R. § 240.10b-5(a)-(c)]; and that, without a registration statement being in effect or

  filed, Defendants engaged and are engaged in the unlawful sale and offer to sell

  securities in violation of Sections 5(a) and 5(c) of the Securities Act [15 U.S.C. §§ 77e(a),

  77e(c)]. SEC v. Sharma et al., Case No. 1:18-cv-02909-DLC (S.D.N.Y. filed April 2, 2018).

  On April 20, 2018, an Amended Complaint was filed in that action adding Mr. Trapani as a

  defendant.

           Criminal charges have also been filed against Mr. Sharma, Mr. Farkas, and Mr.

  Trapani in the Southern District of New York in connection with the Centra Tech ICO.

  USA v. Sharma et al., Case No. 1:18-cr-00340-LGS (S.D.N.Y. filed March 31, 2018). The

  Government has filed charges against the defendants for (1) Conspiracy to Commit

  Securities Fraud; (2) Securities Fraud; (3) Conspiracy to Commit Wire Fraud; and (4) Wire

  Fraud.

           On April 5, 2018, the Plaintiff filed its Renewed Motion for Temporary Restraining

  Order. The Plaintiff has renewed its Motion for Temporary Restraining Order “because

  newly discovery factual developments concerning the status and safekeeping of the ICO

  proceeds necessitate immediate judicial intervention.” Specifically, the Plaintiff contends

  that information disclosed in relation to the SEC action filed in the Southern District of

  New York indicates that relevant assets have been depleted and that Defendant Farkas’

  attempt to flee further shows there is a significant risk of one of Defendants or an affiliate

  attempting to remove relevant assets beyond the reach of the United States judicial

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  system, ECF No. [54] at 1-2. Accordingly, Plaintiff seeks an order: (i) temporarily

  restraining Defendants from directly or indirectly, alone or in concert with others

  (including any officer, agent, employee and/or representative of Centra Tech),

  transferring or dissipating the ICO proceeds; (ii) imposing an asset freeze and

  constructive trust covering Defendants Centra Tech, Sharma, Trapani, Farkas and

  Hagner—along with Centra Tech’s current or former officers, agents, affiliates and the

  Individual Defendants’ affiliates, representatives and other relevant individuals’ accounts

  and/or digital currency wallets holding any ICO proceeds; (iii) prohibiting Defendants,

  their officers, affiliates, and other relevant individuals from destroying, erasing or

  otherwise making unavailable for further proceedings in this matter, any records or

  documents (including data or information maintained in computer files or other

  electronic storage media) which relate to Centra Tech or the Centra Tech ICO; (iv)

  requiring Defendants to provide an interim accounting, under oath, detailing: (a) all

  investor monies, assets, digital currencies, virtual currencies, cryptocurrencies,

  collected in connection with the Centra Tech ICO and Centra Tech’s business

  operations; and (b) a schedule of all transactions involving the ICO proceeds, including

  all transfers, liquidations, purchases and expenditures involving the ICO proceeds from

  July 1, 2017 through the date of the accounting. 2

         In response, the Defendants consent to the entry of an Order providing limited

  injunctive relief, but argue that further injunctive relief is unwarranted. Defendants note

  that on April 13, 2018, the Southern District of New York issued a warrant of seizure for

  91,000 Ether stored in the ICO wallet, ECF No. [63] at 3. As of May 16, 2018, that 91,000

  Ether has been transferred to a government-controlled digital wallet, ECF No. [72].




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   The Plaintiff additionally sought a shortened briefing schedule for the instant motion,
  but that relief was addressed by the undersigned’s Order of April 10, 2018, ECF No. [57].

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         III.   APPLICABLE LAW

         Plaintiffs seek a Temporary Restraining Order pursuant to Federal Rule of

  Civil Procedure 65(b). 3   The same four factors apply to the determination of

  whether to grant a temporary restraining order or preliminary injunction. Schiavo

  v. Schiavo, 403 F.3d 1223, 1225-26 (11th Cir. 2005). To prevail on a request for

  either form of relief, a movant must demonstrate the following four elements:

                (1) a substantial likelihood of success on the merits of the
                underlying case,

                (2) the movant will suffer irreparable harm in the absence of
                an injunction,

                (3) the harm suffered by the movant in the absence of an
                injunction would exceed the harm suffered by the opposing
                party if the injunction issued, and

                (4) an injunction would not disserve the public interest.

  Johnson & Johnson Vision Care. Inc. v. 1-800 Contacts, Inc., 299 F.3d 1242, 1246-47 (11th

  Cir. 2002) (citation omitted). A preliminary injunction is an extraordinary and drastic

  remedy which should not be granted unless the movant can clearly establish each of the

  four elements. Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1247 (11th Cir. 2016)

  (citing Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000)). The failure to establish an

  element will warrant denial of the request for preliminary injunctive relief and obviate the

  need to consider the remaining prerequisites. Dawson v. Ameritox, Ltd., 571 F. App’x

  875, 880 (11th Cir. 2014); see also Pittman v. Cole, 267 F.3d 1269, 1292 (11th Cir. 2001)

  (citing Church v. City of Huntsville, 30 F.3d 1332, 1342 (11th Cir. 1994)). Indeed, “a

  preliminary injunction is a powerful exercise of judicial authority in advance of trial. The

  chief function of a preliminary injunction is to preserve the status quo until the merits of

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   At the hearing, Plaintiffs’ counsel explained that they sought a temporary restraining
  order rather than a preliminary injunction based upon the District Judge’s comments at
  the hearing on their initial motion that indicated the preliminary injunction hearing would
  proceed more like a trial, and that their pending motion on discovery that was necessary
  to proceed in this manner had not been granted.

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  the controversy can be fully and fairly adjudicated.” Northeastern Fla. Chapter of the

  Ass'n of Gen. Contractors v. City of Jacksonville, 896 F.2d 1283, 1284 (11th Cir. 1990).

  Thus, a preliminary injunction “is not the same as an adjudication on the merits,” but is

  merely a device created to preserve the rights of the parties until a determination can be

  made on the merits. Tipsey McStumbles, LLC, v. Griffin, No. CV 111-053, 2011 WL

  13217129, *1 n.1 (S.D. Ga. Aug. 2, 2011) (citing Augusta Video, Inc. v. Augusta-Richmond

  Cnty., Ga., 249 F. App’x 93, 98 n.4 (11th Cir. 2007).

           In considering a motion for preliminary injunctive relief, “a district court may rely

  on affidavits and hearsay materials which would not be admissible evidence for a

  permanent injunction, if the evidence is ‘appropriate given the character and objectives

  of the injunctive proceeding.’” Levi Strauss & Co. v. Sunrise Int'l Trading Inc., 51 F.3d

  982, 985 (11th Cir. 1995) (citing Asseo v. Pan Am. Grain Co., 805 F.2d 23, 26 (1st Cir.

  1986)). When considering a motion for preliminary injunction, a district court may

  assess the relative strength and persuasiveness of the evidence presented by the

  parties, and is not required to resolve factual disputes in favor of the non-moving party.

  See Imaging Business Machines, LLC. v. BancTec, Inc., 459 F.3d 1186, 1192 (11th Cir.

  2006).

           IV.    ANALYSIS

           The Plaintiff argues that a temporary restraining order is appropriate because (1)

  Plaintiff is likely to succeed on the merits of his claims; (2) Plaintiff and the class face

  irreparable harm; (3) the balance of the equities favor the Plaintiff; and (4) the public

  interest will be served by entry of a temporary restraining order, ECF No. [54]. In their

  Response, the Defendants dispute the Plaintiff’s entitlement to the relief sought generally

  and contend that much of the relief requested has already been rendered moot. The

  Defendants, however, agree to certain limited relief. In its Response, the Defendants

  state that “Centra Tech consents to an order enjoining Centra Tech from accessing the

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  assets in the ICO Wallet for any purpose other than complying with the Seizure Warrant

  (and to a preliminary injunction of the same scope).” ECF No. [63], Response at 4.

  Centra Tech further “consents to the entry of a preservation order” “to the extent that

  Centra Tech is currently in possession of or has returned to it any materials relevant to

  the instant matter.” ECF No. [63], Response at 5. 4 At oral argument, the Defendants

  further consented to entry of an asset freeze as to the contents of the ICO Wallet,

  including the 8,932.325 Ether that was not subject to the government’s Seizure Warrant.

        Therefore, the undersigned will consider the Plaintiff’s arguments as to its

  entitlement to a temporary restraining order beyond the scope of that agreed to by the

  Defendants.

         A.     Likelihood of Success on the Merits

         First, the Plaintiff must establish a likelihood of success on the merits. Because

  Plaintiff’s control person liability claims depend upon the viability of the underlying

  Section 12 claim, it is necessary for the Plaintiff to demonstrate a likelihood of success

  on the Section 12 claim in order to establish an entitlement to a temporary restraining

  order. In order to establish liability under Section 12(a)(1), a Plaintiff in the Eleventh

  Circuit must prove (1) the Defendants sold or offered to sell securities; (2) no registration

  statement was in effect as to the securities; and (3) interstate transportation or

  communication and the mails were used in connection with the sale or offer of sale. Sec.

  & Exch. Comm'n v. Levin, 849 F.3d 995, 1001 (11th Cir. 2017). Plaintiffs must also prove

  an entitlement to recovery under the statute. In re Mut. Funds Inv. Litig., 384 F. Supp. 2d

  845, 866 (D. Md. 2005). “A substantial likelihood of success on the merits requires a




  4
   Though the Response explicitly consents to limited injunctive relief on behalf of Centra
  Tech, leaving some ambiguity as to the consent of the individual Defendants, during oral
  argument counsel for the Defendants confirmed that all Defendants consent to limited
  injunctive relief.

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  showing of only likely or probable, rather than certain, success.” Schiavo ex rel.

  Schindler v. Schiavo, 403 F.3d 1223, 1232 (11th Cir. 2005) (citations omitted).

             1. Centra Tokens are Securities

         The Defendants have conceded for purposes of the present motion only that the

  Centra Tokens sold are securities, though they have indicated an intention to challenge

  that classification if necessary at a later time, ECF No. [26], Motion to Compel Arbitration

  and Stay and/or Dismiss at 7 n.6 (“Centra Tech disputes the characterization of the

  Centra Token as a security and will raise that argument if necessary at the appropriate

  time.”) Nonetheless, in order to determine the Plaintiffs’ likelihood of success on the

  merits, this court must analyze the characterization of Centra Tokens as a security. The

  Defendants do not dispute that Centra Tokens were sold to the public by the Defendants,

  so the first element of liability under Section 12(a) is established if it is determined that

  the Centra Tokens are securities under the Securities Act,. ECF No. [26-1] Shutt Decl. at

  ¶ 6 (“From July 30, 2017 through September 26, 2017, Centra Tech held an initial coin

  offering (“ICO”) in which it issued to the public a “utility token” of its own creation —the

  Centra Token (“CTR”)).

         The definition of security under the Securities Act includes “investment

  contract(s).” “An offering is an investment contract if there is: (1) an investment of

  money (2) in a common enterprise, (3) with the expectation of profits to come solely from

  the efforts of others.” Tippens v. Round Island Plantation LLC, 2009 WL 2365347, at *9

  (S.D. Fla. July 31, 2009) (citing SEC v. Unique Fin. Concepts, Inc., 196 F.3d 1195, 1199

  (11th Cir. 1999).

         It is well-established that the “investment of money” required for an investment

  contract need not be made in cash, and refers more generally to “an arrangement

  whereby an investor commits assets to an enterprise or venture in such a manner as to

  subject himself to financial losses. SEC v. Friendly, 49 F. Supp. 2d 1363, 1368–69 (S.D.

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   Fla. 1999); see also Uselton v. Comm. Lovelace Motor Freight, Inc., 940 F.2d 564, 574

   (10th Cir. 1991). Thus, the Plaintiffs investment of assets, in the form of Ether and/or

   Bitcoin, satisfies the “investment of money” prong for an investment contract.

          Plaintiffs must next establish the existence of a “common enterprise.” In the

   Eleventh Circuit, “a common enterprise exists where the ‘fortunes of the investor are

   interwoven with and dependent upon the efforts and success of those seeking the

   investment of third parties.” SEC v. Unique, 196 F.3d at 1199 (citing Villeneuve v.

   Advanced Bus. Concepts Corp., 698 F.2d 1121, 1124 (11th Cir. 1990)). “The thrust of the

   common enterprise test is that the investors have no desire to perform the chores

   necessary for a return, and are attracted to the investment solely by the prospects of a

   return. Eberhardt v. Waters, 901 F.2d 1578, 1580–81 (11th Cir. 1990). Herein, the fortunes

   of individual investors in the Centra Tech ICO were directly tied to the failure or success

   of the products the Defendants purported to develop. An individual investor could exert

   no control over the success or failure of his or her investment. Thus, the Plaintiffs have

   established the existence of a common enterprise.

          Finally, the third prong of the Howey test is satisfied when “the efforts made by

   those other than the investor are the undeniably significant ones, those essential

   managerial efforts which affect the failure or success of the enterprise.’” Bamert v. Pulte

   Home Corp., 445 Fed. App’x 256, 262 (11th Cir. 2011) (quoting Williamson v. Tucker, 645

   F.2d 404, 418 (11th Cir. 1981)); see also SEC v. Merchant Capital, LLC, 483 F.3d 747, 755

   (11th Cir. 2007) (“‘the focus is on the dependency of the investor on the entrepreneurial

   or managerial skills of a promoter or other party’”) (quoting Gordon v. Terry, 684 F.2d

   736, 741 (11th Cir. 1982)). Because the success of Centra Tech and the Centra Debit

   Card, CTR Tokens, and cBay that it purported to develop was entirely dependent on the

   efforts and actions of the Defendants, the third prong is satisfied. Therefore, the offering



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   of Centra Tokens was an investment contract under the Securities Act, such that the

   Defendants sold or offered to sell securities by virtue of the Centra Tech ICO.

              2. No Registration Statement In Effect

          The Defendants have never disputed that there was no registration statement in

   effect as to the Centra Tokens sold at any time.

              3. Interstate Means Were Used

          Because it well-established that the Internet is an “instrumentality of interstate

   commerce,” 5 the Plaintiffs have established that interstate means were used to offer and

   sell the CTR Tokens. See ECF No. [26-4], Centra Tech Token Sale Home Page (providing

   visitors to the page with information on how to purchase Centra Tokens through the

   Token Sale Home Page or via the Centra Tech Smart Contract).

              4. Plaintiffs Have Suffered Recoverable Damages Under Section 12(a)(1)

          Between September 21, 2017 and October 1, 2017, Plaintiff He purchased

   702,269.4 CTR in exchange for Ether and Bitcoin valued at approximately $768,299.00,

   ECF No. [64] at 10. On December 17, 2017, Plaintiff He sold all of his CTR in exchange for

   Bitcoin valued at approximately $561,816.00, thus suffering a loss of approximately

   $206,483.00, ECF No. [64]. 6

          Thus, the Plaintiff has shown (1) that the Defendants sold or offered to sell

   securities; (2) no registration statement was in effect as to the securities; (3) interstate

   means were used in connection with the offer or sale; and (4) that the Plaintiff suffered

   recoverable damages under Section 12(a)(1).




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     See, e.g., SEC v. Levin, No. 12-cv-21917, 2013 WL 594736, at *12 (S.D. Fla. Feb. 14, 2013)
   (“the Internet, which necessarily includes email, is an ‘instrumentality of interstate
   commerce.’”) (quoting United States v. Hornaday, 392 F.3d 1306, 1311 (11th Cir. 2004)).
   6
    Co-lead Plaintiff Wang Yun He was made a party to the action by Court Order on April 9,
   2018, ECF No. [59], and fully supports the Renewed Motion. ECF No. [65] at 1.

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              5. Defenses Raised by the Defendants

          The Defendants have not yet filed an Answer in the instant action and rely on the

   arguments raised in their Motion to Compel Arbitration and/or Dismiss in opposition to

   the Plaintiff’s Renewed Motion for Temporary Restraining Order. Therein, the

   Defendants argue that Plaintiff Rensel’s claims are subject to a mandatory arbitration

   clause, that the Complaint should be dismissed because Plaintiff Rensel failed to suffer

   recoverable damages, and that Count II of the Complaint, which alleges individual control

   person liability against the four individual defendants, should be dismissed for failure to

   state a claim. Because control person liability under Section 15 of the Securities is

   derivative of the Plaintiff’s Section 12 claims, 7 and because the Plaintiff need only

   establish the likelihood of success on the merits as to a single claim to prevail on the

   motion for temporary restraining order, 8 the Defendants’ argument for dismissal of the

   Section 15 claim need not be addressed herein.

          Defendants argue in their Motion to Compel and/or Dismiss that Plaintiff Rensel

   lacks standing to bring a claim pursuant to Section 12(a)(1) of the Securities Act because

   Plaintiff Rensel profited from the sale of his Centra Tokens and thus has not suffered

   recoverable damages. As explained in more detail in the Report and Recommendation

   on the Motion to Compel Arbitration and Stay and/or Dismiss, ECF No. [77], and

   7
     Greenfield Children’s P’ship v. Friendfinder Networks, Inc., No. 11- CV-81270, 2014 WL
   12205997, *6 n.10 (S.D. Fla. Mar. 18, 2014) (noting that “Section 15 imposes derivative
   liability on certain ‘control persons’ for primary violations of the Securities Act” and
   dismissing claims under Section 15 because the complaint “fails to state a claim under
   the predicate Securities provisions”).
   8
     “In order to grant a temporary restraining order or a preliminary injunction in a case
   such as this, raising a number of separate claims for relief, it is sufficient if this court,
   finds that plaintiffs are likely to succeed on any of their claims, so long as the ultimate
   victory on this claim could be rendered relevant by the defendants' actions in the
   interim.” Louis v. Meissner, 530 F. Supp. 924, 926 (S.D. Fla. 1981) citing Tenants for
   Justice v. Hills, 413 F. Supp. 389 (Ed.Pa.1975).




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   summarized below, the undersigned concurs. Plaintiff Rensel purchased his Centra

   Tokens for 16.1 Ether, valued on the day of the purchase at $3,250.75, and sold them for

   0.7096997 Bitcoin, valued on the day of the sale at $3,517.00. Plaintiff Rensel, however,

   argues that because the Bitcoin he received upon sale of his Centra Tokens was

   sufficient to purchase only 13.723 Ether, he has suffered a loss in Ether. Because

   Plaintiff Rensel has sold and no longer holds his Centra Tokens, however, he is entitled

   only to monetary damages, not to rescission in the consideration he originally used in

   the purchase. See, e.g. In re Mutual Funds Inv. Litig., 384 F. Supp. 2d 845, 867 (D. Md.

   2005) (“the only damages recoverable under Sections 11 and 12(a)(2) are based upon

   price differentials, and plaintiffs therefore have not stated any cognizable harm under

   those statutes”); Plumbers' & Pipefitters' Local No. 562 Supplemental Plan & Tr. v. J.P.

   Morgan Acceptance Corp. I, No. 08 CV 1713 ERK WDW, 2012 WL 601448, at *8–10

   (E.D.N.Y. Feb. 23, 2012) (dismissing claims under Section 12 because “[a]lthough the

   Lead Plaintiff has sufficiently alleged economic loss with respect to the Certificates

   generally, it is unable do so with respect to the two Certificates it sold for a profit or no

   loss”). Thus, Plaintiff Rensel has not suffered recoverable damages under Section

   12(a)(1) and his claims are subject to dismissal. As previously referenced, however,

   Plaintiff He became a party to the action on April 9, 2018 and supports the Plaintiffs’

   Renewed Motion. Because Plaintiff He suffered a loss of $206,483.00 upon the sale of his

   Centra Tokens, he has suffered recoverable damages under Section 12(a)(1).

          The Defendants argument that Plaintiff Rensel is subject to mandatory arbitration

   also fails. 9 Though the Eleventh Circuit has recognized that the Federal Arbitration Act


   9
    The undersigned notes that, as to Plaintiff He, the Defendants contended that He was
   bound by an arbitration agreement and could not proceed in federal court. Plaintiff He
   was not the subject of the Motion to Compel Arbitration and Stay and/or Dismiss,
   however, because He had not been made a party to the action at the time the Motion to
   Dismiss was filed; and an Amended Complaint formally naming He has not been filed
   and is the subject of a pending motion for leave to file an Amended Complaint.

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   creates a presumption of arbitrability such that doubts regarding the scope of arbitration

   should be resolved in favor of arbitration, that presumption does not apply to the

   determination of whether an arbitration agreement exists, Dasher v. RBC Bank (USA),

   745 F.3d 1111, 1115–16 (11th Cir. 2014). Plaintiff Rensel submitted a declaration stating

   that he did not agree to any terms and conditions in connection with his purchase of

   Centra Tokens and the Defendants have failed to provide competent evidence to

   demonstrate the existence of a genuine issue of material fact concerning the existence of

   the arbitration agreement. Therefore, Plaintiff Rensel is not subject to mandatory

   arbitration. Bazemore v. Jefferson Capital Sys., LLC, 827 F. 3d 1325, 1334 (11th Cir.

   2016).

            For the reasons stated above, which are addressed in more detail in this Court’s

   Order on Defendant’s Motion to Compel Arbitration and Stay or in the Alternative

   Dismiss, ECF No. [77], the undersigned finds that at least Plaintiff He has established a

   substantial likelihood that he will prevail on the merits of its claim for violation of Section

   12.

            B.     Irreparable Harm Will be Suffered If the Relief is Not Granted

            Second, Plaintiff must show that irreparable harm will be suffered if the injunctive

   relief sought is not granted.

            Plaintiffs claim that without an injunction the Defendants will dissipate or abscond

   with the ICO proceeds and thus the Court will be unable to restore to the Plaintiffs the

   Ether they initially invested and any monetary damages awarded will be uncollectable.

   According to the Plaintiffs, the “egregious deceptive activities Defendants engaged in to

   solicit investments in the Centra Tech ICO and Defendant Sharma’s history relating to

   alleged fraudulent activity indicate[] that the Defendants c[an] not be trusted to

   safeguard and manage the ICO proceeds pending resolution of the Action.” ECF No. [54].



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          Plaintiffs, however, have put forth little evidence that their fears of future

   dissipation are well-founded, instead relying on the past fraudulent behavior of

   Defendant Sharma and the deceptive activities the Defendants engaged in in connection

   with the Centra Tech ICO, ECF No. [54] at 15-19. But safeguards have already been put in

   place that would prevent the Defendants from dissipating the ICO proceeds. Prior to the

   initiation of this litigation, Defendants placed 99,931.325 Ether in a secure Ethereum

   public wallet (the “ICO Wallet”), the key to which was broken in half, the halves of which

   were stored in separate safety deposition boxes, one of which was accessible only by

   Allan Shutt, the General Counsel and Chief Compliance Officer of Centra Tech, Inc., and

   the other of which was accessible only by Robert Farkas, the Chief Operating Officer of

   Centra Tech, Inc. ECF No. [63], Response at 2. 10

          On April 1, 2018, Defendant Farkas was arrested and taken into federal custody.

   In connection with the criminal investigation of the Centra Tech ICO, the Department of

   Justice demanded that Centra Tech turn over the halves of the private key to the ICO

   Wallet. On April 11, 2018, Mr. Shutt met with agents of the Federal Bureau of

   Investigation and relinquished his half of the private key, ECF No. [63], Response at 3.

   On May 16, 2018, the defendants confirmed that the government had successfully

   accessed the ICO Wallet and transferred 91,000 Ether to a government-controlled digital

   wallet. ECF No. [72]. Following the government’s transfer, 8,932.325 Ether remain in the

   ICO Wallet.




   10
     The Defendants contend the 99,931.325 Ether in the “ICO Wallet” is comprised of
   51,000 Ether in ICO Proceeds, 40,000 Ether from Centra Tech’s South Korean partner,
   and 8,931.325 Ether belonging to Centra Tech but unrelated to the ICO. ECF No. [63],
   Response at 2-3. The Defendants, however, have consented to an injunction as to all of
   the funds in the ICO Wallet. ECF No. [63] at 4 (“Centra Tech consents to an order
   enjoining Centra Tech from accessing the assets in the ICO Wallet for any purpose other
   than complying with the Seizure Warrant (and to a preliminary injunction of the same
   scope.”).

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          The individual Defendants have all been arrested and charged with crimes related

   to the Centra Tech ICO. A review of the public record of the criminal case reflects that

   the Defendants have been released on bail. Though the Defendants have been released,

   they are all subject to significant bail conditions that decrease any risk of the harm

   feared by the Plaintiffs – the dissipation of the remaining funds in the ICO Wallet and

   other ICO related funds and/or the flight of the Defendants. USA v. Sharma et al., Case

   No. 1:18-cr-00340-LGS (S.D.N.Y. filed March 31, 2018). 11 All of the Defendants have

   posted multi-million dollar bonds in order to secure their release, signed by co-signers

   and secured by cash and/or property. All of the Defendants have surrendered their travel

   documents. Defendants Sharma and Farkas are prohibited from use or access to

   computers, smart phones, or the internet; Mr. Trapani’s internet access is to be

   monitored. Thus, it does not appear that granting an injunction beyond that agreed to by

   the Defendants is necessary to prevent any irreparable injury to the Plaintiffs. In the

   absence of a showing that there is a current actual and imminent threat to the ICO

   proceeds, the Plaintiff’s concern is highly speculative. “Harm, in the context of an award

   of damages, is not irreparable if the injury to the plaintiff is remote or speculative (as

   opposed to actual or imminent).” Kebapci v. Tune Core Inc., No. 15-CV-7141 (ENV)(ST),

   2016 WL 6804919, at *3 (E.D.N.Y. Nov. 16, 2016) (denying Plaintiff’s request for

   preliminary injunction on basis of feared dissipation of assets because “a plaintiff must

   still allege facts (not conclusions) and provide evidence that the targeted defendants

   intend to frustrate judgment in the case at bar. Plaintiff's blanket contention that

   defendants are ‘transferring their assets’ and ‘trying to avoid satisfying any judgment’

   11
     At any stage of a case and on its own, a court may judicially notice a fact that cannot
   be reasonably disputed because it either is generally known or can be readily and
   accurately determined from sources whose accuracy cannot reasonably be questioned.
   Fed. R. Evid. 201(b)–(d). See, e.g., Fernandez–Morales v. Barron, No. 5:06cv1/MCR/EMT,
   2006 WL 680819, at *2 (N.D. Fla. Mar.13, 2006) (a district court may take judicial notice of
   the public docket of a case pending in another federal judicial district).

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   does not suffice.”) (internal citations omitted); see also Siegel, 234 F.3d at 1176-77

   (movant must show that the irreparable injury is “neither remote or speculative, but

   actual and imminent.”).

          Moreover, though the Plaintiffs have indicated that the class may include

   individuals who seek rescission of the original Ether they paid for Centra Tokens, neither

   Plaintiff Rensel nor Plaintiff He are entitled to seek rescission, as both have already sold

   the CTR they purchased and are only entitled to damages. 15 U.S.C. 77l (claimant under

   statute may “may sue either at law or in equity in any court of competent jurisdiction, to

   recover the consideration paid for such security with interest thereon, less the amount of

   any income received thereon, upon the tender of such security, or for damages if he no

   longer owns the security.”). Plaintiffs Rensel and He, therefore, can seek only monetary

   damages in this action, and “[f]inancial damage alone is insufficient to warrant injunctive

   relief” based on the threat of irreparable injury. 12 Seiko Kabushiki Kaisha v. Swiss Watch

   Int’l, Inc., 188 F. Supp. 2d 1350, 1355 (S.D. Fla. 2002). “The possibility that adequate

   compensatory or other corrective relief will be available at a later date, in the ordinary

   course of litigation, weighs heavily against a claim of irreparable harm.” Northeastern

   Fla., 896 F.2d at 1285 (citing Sampson v. Murray, 415 U.S. 61, 90 (1974)); see also Kebapci

   v. Tune Core Inc., No. 15-cv-7141 (ENV)(ST), 2016 WL 6804919, at *3 (E.D.N.Y. Nov. 16,

   2016) (“[A]n injury is not irreparable if a monetary award can provide adequate

   compensation.”).

          Without a finding of a likelihood of an “actual and imminent” irreparable injury,

   preliminary injunctive relief is improper. See Siegel, 234 F.3d at 1176 (“Significantly, even


   12
     Moreover, it is unclear how many members of the class suffered a loss, as well as how
   many are subject to the arbitration provisions in certain sales contracts, and whether
   their claims would be subject to injunctive relief by the Court. Thus, Plaintiff has failed to
   establish that all proceeds and profits generated by the Centra Tech ICO are subject to
   injunctive relief by this Court.

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   if Plaintiffs establish a likelihood of success on the merits, the absence of a substantial

   likelihood of irreparable injury would, standing alone, make preliminary injunctive relief

   improper.”). Thus, the Plaintiffs are not entitled to the additional injunctive relief

   sought. 13 The Defendants, however, have agreed to the entry of certain precautionary

   injunctive relief and the undersigned believes that entry of an Order providing the

   injunctive relief to which the Defendants have consented is appropriate. 14

          V.     CONCLUSION AND RECOMMENDATION

          Therefore, in accordance with the above, it is hereby

          RECOMMENDED that the Defendant’s Renewed Motion for a Temporary

   Restraining Order, Asset Freeze, Document Preservation Order, and Order to Make

   Accounting and Other Ancillary Relief, ECF No. [54], be GRANTED to the limited extent

   consented to by the Defendants, and otherwise be DENIED; as follows:

          An asset freeze is imposed over the contents of the ICO Wallet; and

          Defendants Centra Tech, Inc., Sohrab Sharma, Raymond Trapani, Robert Farkas,

   and William Hagner, directly or indirectly, and whether alone or in concert with others,

   including any officer, agent, employee and/or representative of Centra Tech, and

   including any representative, agent, or heir of Defendant Hagner, 15 are enjoined from:



   13
      Because the undersigned concludes that the Plaintiffs have failed to establish
   irreparable injury, the remaining prerequisites to a preliminary injunction are not
   discussed. See, e.g., Northeastern Florida, 896 F.2d at 1285 (“We need not address each
   element because we conclude that no showing of irreparable injury was made.”).
   14
     With respect to the request for an accounting, the Plaintiffs should be able to obtain
   the necessary information through discovery, and may renew their motion if this is not
   the case. The records of business activities had been seized by the federal government
   at the time of the hearing and were not available to the Defendants.
   15
     Although the parties have represented that Defendant Hagner is deceased, he remains
   a party to this case since no substitution or dismissal has occurred, and the
   recommendation is therefore drafted to encompass any representative or heirs of
   Defendant Hagner.

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        i.      accessing the assets in the ICO Wallet for any purpose other than

                complying with a valid court order; and

        ii.     destroying, erasing or otherwise making unavailable for further

                proceedings in this matter, any records or documents, books, records,

                accounts, account passwords, computer passwords, device PINS and

                passwords, cryptographic keys, or any instruments, data, and papers

                relating in any manner to Centra Tech and the Centra Tech ICO.

          The parties will have fourteen calendar days from the date of this Report and

   Recommendation within which to file written objections for consideration by the United

   States District Judge to whom this case is assigned. Any response to objections must

   be filed within seven days from the date any objections are filed. Any request for an

   extension of these deadlines must be made within seven calendar days from the date of

   this Report and Recommendation. Pursuant to Eleventh Circuit Rule 3-1, and

   accompanying Internal Operating Procedure 3, the parties are hereby notified that failure

   to object in accordance with 28 U.S.C. § 636(b)(1) waives the right to challenge on appeal

   the district court’s order based on unobjected-to factual and legal conclusions.

          DONE AND SUBMITTED in chambers in Miami, Florida on June 25, 2018.



                                            ___________________________________
                                            ANDREA M. SIMONTON
                                            UNITED STATES MAGISTRATE JUDGE


   Copies furnished via CM/ECF to:
   The Honorable James Lawrence King, United States District Judge
   All counsel of record.




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